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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                            :
SCOTT G. PERRY                              :
                                            :
       Plaintiff,                           :
                                            :      Case No. 22-mc-00079 (BAH)
               v.                           :
                                            :
UNITED STATES OF AMERICA,                   :
                                            :
       Defendant.                           :


                     MOTION TO DISMISS WITHOUT PREJUDICE

       Plaintiff Representative Scott G. Perry, by and through his undersigned counsel, hereby

requests pursuant to Fed. R. Civ. P. 41(a)(1)(A) that his Emergency Motion for Return of Seized

Property Pursuant to Fed. R. Crim. P. 41(g) and Request for Injunctive and Other Relief (ECF No.

1) be dismissed without prejudice.


Dated: October 26, 2022                     Respectfully Submitted,

                                            E&W LAW, LLC

                                            _____/s/ John S. Irving___________
                                            John S. Irving (D.C. Bar No. 460068)
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                                            JPROWLEY LAW PLLC

                                            _____/s/ John P. Rowley III_______
                                            John P. Rowley III (D.C. Bar No. 392629)
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 26th day of October 2022, a copy of the foregoing

Motion was served via the Court’s CM/ECF system on all properly registered parties and counsel.


                                           _____/s/ John S. Irving________
                                           John S. Irving (D.C. Bar No. 460068)
